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                IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION


SHAUN BRIDGER, KENNETH           :
HESTER, ROBBIE JOINER,           :
JEAN LEBEUF, DALLAS MALONE,      :
NICHOLAS MCCANE, AARON           :
MILLER, NEAL MOORE, MICHAEL      :
PARROTT, BRIAN POWELL,           :                 Civil Action No. 5:19-cv-00324-MTT
DANIEL PUTNAM, CAREY VANN        :
JOSEPH VAMPER, ROBERT            :
SHOCKLEY, and DANIEL SHURLEY     :
                                 :
     Plaintiffs,                 :
                                 :
v.                               :
                                 :
MACON-BIBB COUNTY,               :
GEORGIA and BIBB COUNTY          :
SHERIFF’S OFFICE                 :
                                 :
     Defendants.                 :
________________________________:

                       BIBB COUNTY SHERIFF’S OFFICE’S
                   AMENDED MOTION FOR SUMMARY JUDGMENT

       COMES NOW the Bibb County Sheriff’s Office (“BCSO”), by and through the

undersigned counsel, and pursuant to Rule 56 of the Federal Rules of Civil Procedure

and Rules 7.1 and 56 of the Local Rules for the Middle District of Georgia, hereby

respectfully moves the Court for entry of a summary judgment in its favor on all claims

set forth against it in Plaintiffs’ Complaint, respectfully showing the Court as follows:

                                              1.

       The pleadings, depositions, affidavits, and other materials of record show that

there is no genuine issue as to any material fact and that Defendant is entitled to judgment

in its favor as a matter of law; moreover, Plaintiffs cannot make showings sufficient to
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establish the existence of elements essential to their claims, and on which they will bear

the burden of proof at trial such that entry of summary judgment in favor of Defendant is

warranted and appropriate.

                                            2.

       In support of its Motion for Summary Judgment, Defendant relies on all pleadings,

depositions1, affidavits2, supplemental affidavits, interrogatories and responses to same,

any and all evidence of record at such time as the Court hears or considers this Motion,

and documentary or oral evidence presented subsequent to the filing of this Motion,

including all documents, affidavits, and other materials to be filed with Defendant’s Reply

Brief on it Motion for Summary Judgment. Defendant further relies on its Brief in Support

of its Motion for Summary Judgment, filed simultaneously herewith.

                                            3.

       In accordance with Local Rule 56, this Motion is accompanied by a separate

statement of the material facts as to which it is contended there is no genuine issue to be

tried, as well as a memorandum of law in support of the Motion.

       Respectfully submitted this 3rd day of June 2021.




1The depositions include the depositions of Shaun Bridger, Kenneth Hester, Robbie
Joiner, Jean LeBeuf, Dallas Malone, Nicholas McCane, Aaron Miller, Neal Moore,
Michael Parrott, Bryan Powell, Daniel Putnam, Carey Vann, Joseph Vamper, Robert
Shockley, Daniel Shurley, Marcus Baker, Jeremy Robinson, Jesse Thompson, Justin
Krage, Aiden Renfroe, Richard Senter, Shelly Rutherford, Tania Clausen, Roy Williams,
Fred Carmical, Scott Davis, and the FRCP 30(b)(6) deposition of Macon-Bibb County, all
of which were previously filed into the record in this case by Defendant Macon-Bibb
County at Docs. 20-2 through 20-28. Defendant BCSO is filing herewith the deposition of
Brad Surfus.
2The affidavits include the Affidavit of David J. Davis dated May 31, 2021 and filed with

Defendant BCSO’s Motion; the Affidavit of David Davis filed with Defendant Macon-Bibb
County’s motion for summary judgment at Doc. 20-29; and the Affidavit of Belgica Wall.
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                                       /s/ Dawn Maynor Lewis____
                                       DAWN MAYNOR LEWIS
                                       Georgia Bar No. 479696
                                       /s/ Virgil L. Adams________
                                       VIRGIL L. ADAMS
                                       Georgia Bar No. 004625

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                            CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day filed the foregoing BIBB

COUNTY SHERIFF’S OFFICE’S AMENDED MOTION FOR SUMMARY JUDGMENT

using the CM/ECF document filing system, which will generate a Notice of Electronic

Filing and an electronic service copy of same to the following CM/ECF participants and

counsel of record:

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                          Attorneys for Macon-Bibb County


      This 3rd day of June 2021.


                                                  /s/ Dawn Maynor Lewis________
                                                  Dawn Maynor Lewis
                                                  Georgia Bar No. 479696
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